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                                                                             FILED
                                                                                  APR 0 5 Z016
                                                                             Clerk, u S District Coun
                 IN THE UNITED STATES DISTRICT COURT                           District Of Montana
                                                                                     BiHitlgS
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

 UNITED STATES OF AMERICA,                     Case No. CR-06-16-BLG-SPW-7

                 Plaintiff,

 vs.                                              ORDER TO DISMISS
                                               REVOCATION PROCEEDINGS
 TYRONE TRINNELLE JACKSON,

                Defendant.

       Defendant Tyrone Trinnelle Jackson, having filed an Unopposed Motion to

Dismiss Revocation Proceedings (Doc. 84 7), and good cause appearing therefor;

       IT IS HEREBY ORDERED that the pending revocation proceedings are

DISMISSED and the hearing scheduled for April 15, 2016, at 9:30 a.m. is

VACATED.

       The Clerk of Court is directed to notify the parties of the making of this Order.

       DATED this     ~y of April, 20, .

                                         USAN P WATTERS
                                        U. S. DISTRICT COURT JUDGE
